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Approved by,   K~~
               Special Ass stant United States Attorney

Before:        THE HONO~~BLE MARTIN R. GOLDBERG
               United States Magistrate Judge
               Southern District of New York

                                 - - - - - -x
UNITED STATES OF AMERICA                           MISDEMEANOR
                                                   COMPLAINT

            -v-                                    Violation of

                                                   18 U.S.C. 113   (a)   (5)

AMDI KABA

                                                   COUNTY OF OFFENSE:
            Defendant                              ORANGE

                                         - -x
UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK, ss.:

     BENJAMIN DURHAM, being duly sworn, deposes and says
that he is a Court Liaison assigned to the Provost Marshal
Office, at the United States Military Academy, West Point,
New York, and charges as follows:


                            COUNT ONE

     On or about August 25, 2020, at the United States
Military Academy, West Point, New York, within the special
maritime and territorial jurisdiction of the United States,
in the Southern District of New York, AMDI KABA, the
defendant, unlawfully, knowingly and intentionally placed
or attempted to place another person in fear of imminent
serious physical injury or physical injury to wit, the
defendant grabbed a kitchen knife and threatened another
person with it causing a small laceration on the other
person's left thumb.

      (Title 18, United States Code, Section 113 (a) (5))

     The basis for the deponent's knowledge and for the
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foregoing charges are, in part, as follows:

1.  I am Court Liaison, assigned to the Provost Marshal
Office, at the United States Military Academy, West Point,
New York, which is located in the Southern District of New
York.

2.  On or about August 25, 2020, at approximately 5:16
p.m., the desk sergeant received a phone call from Carlys
Lemier, Thayer Hotel general manager, who stated that two
kitchen employees had been involved in an altercation.

3.   SGT Fonyi, SPC Deskey and SPC Hulbert were dispatched
to Thayer Hotel to investigate.   The three MPs met in the
kitchen where the assault occured.   They first met with the
victim, Brett Cole, and observed a wound on his left thumb,
approximately 2 inches in length and a cut approximately 1
centimeter on his left finger.   SPC Hulbert then took him
upstairs to separate him from the defendant, Amdi Kaba.
The defendant had a scratch on his left forearm.   Neither
individual wanted medical treatment for their injuries. The
defendant was moved into the hallway at this time.

4.  Military Police Investigators Monge and Lynch arrived
on the scene to assist with the investigation. After being
briefed by SPC Deskey and SPC Hulbert about what occurred,
INV Monge approached the witness, Mr. German Jiminez.    Mr.
Jiminez does not speak English, so INV Monge interviewed
him in Spanish and he related that he saw the defendant
make a joke to the victim and the victim did not like it.
The victim then responded to the defendant and the
defendant did not like that.  The defendant then proceeded
to grab a knife and go towards the victim, leaving him with
a superficial scratch on his left hand, a scratch that was
done with the knife. Mr. Jiminez stated they were joking
and that they are friends and that they get along.   Mr.
Jiminez declined to make a written statement. INV Monge
then went to speak with the defendant and he stated that he
was confused as to what was going on.   INV Monge told him
that he needed to go to the station to answer a few
questions.

5.  INV Monge then went to speak with the victim who
allowed photographs to be taken of his injuries but did not
wish to make a statement and would not provide any other
information regarding the incident.
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6.  The defendant was fingerprinted and processed, did not
wish to provide a written statement, and then released.  He
was issued a District Court Violation Notice for assault in
the third degree (DCVN number 8004928/SYlO).


miEREFORE, deponent prays that the above-named defendant be
imprisoned or bailed, as the case may be.




                       BENJAMIN DURHAM
                       Court Liaison


Sworn to before me this
13th day of November, 2020




H
                     rate Judge
                      New York
